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   IT IS ORDERED as set forth below:



   Date: March 22, 2021

                                            _____________________________________
                                                       Wendy L. Hagenau
                                                  U.S. Bankruptcy Court Judge

_______________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                              :              CHAPTER 7
                                                    :
BOBBY MANALCUS WILBANKS,                            :              CASE NO. 10-60990-WLH
KIMBERLY ANN WILBANKS                               :
                                                    :
         Debtors.                                   :

                  ORDER GRANTING TRUSTEE’S APPLICATION FOR
             FINAL COMPENSATION OF SPECIAL COUNSEL AND REQUEST
                   FOR AUTHORIZATION TO PAY COMPENSATION

         On February 2, 2021, S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy

estates (collectively, the “Bankruptcy Estate”) of Bobby Manalcus Wilbanks and Kimberly Ann

Wilbanks (collectively, “Debtors”), filed Trustee’s Application for Final Compensation of Special

Counsel and Request for Authorization to Pay Compensation [Doc. No. 77] (the “Application”).




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        In the Application, Trustee seeks final approval of compensation for Ford & Associates

Nationwide Legal Services, APC (“Ford”), Goldwater Law Firm (“Goldwater”), and Bertram &

Graf, LLC (“B&G”, together with Ford and Goldwater, “Special Counsel”) for fees in the amount

of $29,901.76 (the specific amount that each firm will receive is set forth in the Application) and

expenses in the amount of $541.52 for services rendered in the prosecution of a certain multi-

district product liability litigation claim.

        Also on February 2, 2021, Trustee filed Notice of Pleadings, Deadlines to Object, and for

Hearings [Doc. No. 78] (the “Notice”) regarding, among other things, the Application, in

accordance with General Order No. 24-2018 and setting a hearing on the Application on March

18, 2021 (the “Hearing”). Counsel for Trustee certifies that he served the Notice on all requisite

parties in interest on February 2, 2021. [Doc. No. 79].

        The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in General Order No. 24-2018. No objection to the Application was filed prior to the

objection deadline provided in the Notice. No creditor or party in interest appeared at the Hearing

to voice an objection to the relief requested in the Application.

        The Court having considered the Application and all other matters of record, including the

lack of objection to the relief requested in the Application, and, based on the forgoing, finding that

no further notice or hearing is necessary; and, the Court having applied the standards set forth in

Norman v. Housing Authority for the City of Montgomery, 836 F.2d 1292 (11th Cir. 1988) and 11

U.S.C. §§ 330 and 331 and having reviewed the Application and the supporting documents, and

based on the representations of the Trustee in the Application, it appearing to the Court that the

compensation for services rendered and reimbursement of expenses requested are reasonable; and

the Court having found that good cause exists to grant the relief requested in the Application, it is



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hereby

         ORDERED that the Application is GRANTED: Special Counsel is awarded the sum of

$29,901.76 as payment for attorney’s fees plus $541.52 as reimbursement for expenses incurred

in the representation of Trustee and the Bankruptcy Estate and Trustee is authorized to pay, or to

cause to be paid, these amounts.

                                      [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

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Identification of entities to be served:

Office of the United States Trustee
362 Richard B. Russell Building                     Bobby Manalcus Wilbanks
75 Ted Turner Drive, SW                             426 Ellington Road
Atlanta, GA 30303                                   Oxford, GA 30054

S. Gregory Hays                                     Kimberly Ann Wilbanks
Hays Financial Consulting, LLC                      426 Ellington Road
2964 Peachtree Road, Suite 555                      Oxford, GA 30054
Atlanta, GA 30305
                                                    Michael J. Bargar
Karen Scott Greene                                  Arnall Golden Gregory LLP
Karen Scott Greene, PC                              171 17th Street, NW, Suite 2100
PO Box 390322                                       Atlanta, GA 30363
Snellville, GA 30039




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